     Case 3:18-cv-00190-MMD-WGC Document 153 Filed 01/11/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA


CRAIG OTIS GIBSON,                   )                3:18-cv-00190-MMD-WGC
                                     )
                        Plaintiff,   )                MINUTES OF THE COURT
        vs.                          )
                                     )                January 11, 2021
JAMES DZURENDA, et al.,              )
                                     )
                        Defendants.  )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:        KAREN WALKER            REPORTER:        NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

         On January 8, 2021, the U.S. Marshal Service returned the summons for Defendant
Mario Castro as unexecuted. (ECF No. 151.) From the notes made on the summons, it appears
that the U.S. Marshal Service made three (3) endeavors but were unable to serve the summons.
(Id. at 1.)

         Thereafter, the U.S. Marshal Service contacted the court indicating they received a new
address for Defendant Mario Castro and that a Deputy has made contact by phone with the
Defendant. Based on this information regarding the Defendant’s new address, the U.S. Marshal
Service requested that a new summons be issued for Defendant Castro so that he could be served
at this new (sealed) address.

        IT IS THEREFORE ORDERED that the Clerk shall issue a summons for Mario Castro
and send the same to the U.S. Marshal with the address provided under seal (ECF No. 152). The
Clerk shall also send one (1) copy of the Second Amended Complaint (ECF No. 112), one (1) copy
of the court’s order (ECF No. 111), and one (1) copy of this order to the U.S. Marshal for service
on the Defendant.

                                             DEBRA K. KEMPI, CLERK

                                             By:        /s/______________________
                                                    Deputy Clerk
